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                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
____________________________________
WILLIAM KELLER                       :
                                     : CIVIL ACTION
            Plaintiff,               : DOCKET NO.: 17-2132

       v.                           :
                                    :
S-L SNACKS PA, LLC                  :
                                    :
            Defendant.              :
____________________________________:

                STIPULATION OF DISMISSAL WITH PREJUDICE

       The parties having resolved this matter, it is hereby stipulated pursuant to Rule 41

of the Federal Rules of Civil Procedure, by and between Plaintiff, William Keller, and

Defendant, S-L Snacks PA, LLC, by and through their undersigned counsel, that this

above-captioned action be dismissed in its entirety with prejudice and without costs or

attorneys’ fees to either party. The parties consent to use of electronic signatures on this

Stipulation.


 /s/ Timothy S. Seiler                          /s/ Benjamin Teris
 Timothy S. Seiler, Esq.                        Sidney Steinberg, Esq.
 Karpf, Karpf & Cerutti, P.C.                   Benjamin Teris, Esq.
 3331 Street Road                               Four Penn Center
 Two Greenwood Sq., Suite 128                   1600 John F. Kennedy Boulevard
 Bensalem, PA                                   Philadelphia, Pennsylvania 19103
 (215) 639-0801                                 (215) 587-1000
 Attorney for Plaintiff

                                                /s/ Drahcir M. Smith
                                                Drahcir M. Smith, Esq.
                                                Riley Safer Holmes & Cancila LLP
                                                Three First National Plaza
                                                70 W. Madison St., Suite 2900
                                                Chicago, Illinois 60602
                                                (312) 471-8645
                                                Attorneys for Defendant
